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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

Plaintiff,

-vs- Case No. 3:18-CR-186

BRIAN HIGGINS,

Defendant.

 

DETENTION ORDER

 

Pursuant to the record held in court and by telephone on January 12, 2022, it is the Order of
the Court that Defendant shall be placed on Home Detention with Electronic Monitoring under the
direction of Pretrial Services. At this time, he is granted release for medical and legal appointments
only, and upon prior approval of Pretrial Services.

As of the date of this Order, Defendant shall immediately report to Pretrial Services. In
addition, the Defendant shall abide by any other conditions of release as determined appropriate by

Pretrial Services.

DONE and ORDERED in Dayton, Ohio, this 13 day o anuary, 2022,

 

 

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HOMAS M. ROSE, JUDGE

UNITED STATES DISTRICT COURT
